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                              C-4758-15-F
            332ND DISTRICT COURT, HIDALGO COUNTY, TEXAS

                                      CITATION

                                 STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If
you or your attorney do not file a written answer with the clerk who'issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served with this citation and petition, a default judgment may be taken against you.

Gentry and Associates Claims Services, Inc.
REGISTERED AGENT CORPORATION SERVICE COMPANY
211 E 7TH ST STE 620
AUSTIN TX 78701

You are hereby commanded to appear by filing a written answer to the PLAINTIFFS'
ORIGINAL PETITION on or before 10:00 o'clock a.m. on-the Monday next after the
expiration of twenty (20) days after the date of service hereof, before the Honorable
Mario E. Ramirez, Jr., 332nd District Court of Hidalgo County, Texas at the
Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was filed on the on this the 18th day of September, 2015 and a copy of same
accompanies this citation. The file number and style of said suit being C-4758-15-F,
LORENZA GARCIA AND JOSE GARCIA VS. GREAT LAKES
REINSURANCE (UK) PLC, GENTRY AND ASSOCIATES CLAIMS SERVICES,
INC.

Said Petition was filed in said court by BRANDON MORRIS; BRANDON MORRIS,
1110 NASA PKWY STE 620 HOUSTON TX 77058.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 25th day of September, 2015.


LAURA HINOJOSA, DISTRICT CLERK




ALEXIS BONILLA, DEPUTY CLERK



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                                      OFFICER'S RETURN

Came to hand on         of                   , 201        at       o'clock        m. and
executed in                 County, Texas by delivering to each of the within named
Defendant in person, a true copy of this citation, upon which I endorsed the date of
delivery to said Defendant together with the accompanying copy of the
                                   (petition) at the following times and places, to-wit:

NAME                                 DATE TIME PLACE



And not executed as to the defendant,                                                     the
diligence used in finding said defendant, being:                                     and  the
cause of failure to execute this process is:                                        and the
information received as to the whereabouts of said defendant, being:
                               . I actually and necessarily traveled            miles in the
service of this citation, in addition to any other mileage I may have traveled in the service
of other process in the same case during the same trip.

Fees: serving ... copy(s) $
       miles ....................$


DEPUTY
          COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
                     CONSTABLE OR CLERK OF THE COURT
In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

"My name is                                                    , my date of birth is
                   and the address is                                          ,and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in                      County, State of Texas, on the      day of
201


Declarant"


If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number



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                                           CAUSE NOC-4758-15-F


         LORENZA GARCIA AND JOSE                         §               IN THE DISTRICT COURT OF
         GARCIA                                          §
             Plaintiffs,                                 §
                                                         §
         V.                                              §                HIDALGO COUNTY, TEXAS,
                                                         §
         GREAT LAKES REINSURANCE                         §
         (UK) PLC AND GENTRY AND                         §
         ASSOCIATES CLAIMS SERVICES,                     §
         INC.                                            §
                Defendants.                              §                      TH JUDICIAL DISTRICT


                                    PLAINTIFFS' ORIGINAL PETITION


    TO THE HONORABLE JUDGE OF SAID COURT:

               COMES NOW, Lorenza and Jose Garcia ("Plaintiffs"), and files this Plaintiffs' Original

    Petition, complaining of Great Lakes Reinsurance Company ("Great Lakes") and Gentry and

    Associates Claims Services, Inc. ("Gentry") (to whom will be collectively referred as

    "Defendants"), and for their cause of action, Plaintiffs would respectfully show this Honorable

    Court tlie following:

                                       DISCOVERY CONTROL PLAN

1   Plaintiffs intends for discovery to be conducted under Leve12 of Rule 190 of the Texas Rules of

    Civil Procedure.

                                            2.      PARTIES

    3.          Plaintiffs are individuals residing in Hidalgo County, Texas.

    4.          Defendant Great Lakes Reinsurance is a foreign insurance company engaged in the

                business of insurance in Texas. This Defendant may be served by its registered agent,

                Alexis N. Burgess, 1800 Century Park East, Suite 1400, Los Angeles, CA 90067. The




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       causes of action asserted arose from or are connected with purposeful acts committed by

       this Defendant.

5.     Defendant Gentry and Associates Claims Services, Inc. is a domestic adjusting company

       engaged in the business of adjusting insurance claims in the State of Texas. This defendant

       may be served with personal process, by a process server, by serving its Registered Agent:

       Corporation Service Company at 211 E. 7t" St. STE 620, Austin, TX 78701.

                                        JURISDICTION

6.     The Court has jurisdiction over this cause of action because the amount in controversy is

       within the jurisdictional limits of the Court. Plaintiffs are seeking monetary relief over

       $200,000 but not more than $1,000,000. Plaintiffs reserve the right to amend her petition

       during and/or after the discovery process.

7.     The Court has jurisdiction over Defendant Great Lakes because this defendant is an

       insurance company that engages in the business of insurance in the State of Texas, and

       Plaintiffs' causes of action arise out of this defendant's business activities in the State of

       Texas.

8.     The Court has jurisdiction over Defendant Gentry because this defendant engages in the

       business of adjusting insurance claims in the State of Texas, and Plaintiffs' causes of action

       arise out of this defendant's business activities in the State of Texas.

                                             VENUE

9.     Venue is proper in Hidalgo County, Texas, because the insured property is situated in

       Hidalgo County, Texas. TEx. Civ. PxAc. & REM. CoDE § 15.032.




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                                              FACTS

10.     Plaintiffs are the owners of a Texas Homeowners' Insurance Policy (hereinafter referred

        to as "the Policy"), which was issued by Great Lakes.,

11.     Plaintiffs own the insured property, which is specifically located at 716 Dana Street., San

        Juan, Texas, in Hidalgo County (hereinafter referred to as "the Property").

12.     Great Lakes sold the Policy insuring the Property to Plaintiffs.

13.     On or about Apri120, 2012, a hail storm and/or windstorm struck Hidalgo County, Texas,

        causing severe damage to homes and businesses throughout the area, including Plaintiffs'

        residence ("the Storm"). Specifically, Plaintiffs' roof sustained extensive damage during

        the storm. The Storm also damaged the fascia, soffits, garage door, window, screens,

        fencing, and air conditioning unit of the Property..

14.     Plaintiffs submitted a claim to Great Lakes against the Policy as referenced in paragraph 9

        above, for damages the Property sustained as a result of the hail storm and/or windstorm.

15. ` Plaintiffs asked that Great Lakes cover the cost of repairs to the Property, including but not

        limited to the repairs of the damages set out in paragraph 12.

16.     Defendant Great Lakes assigned Defendant Gentry to adjust the claim. Defendant Great

        Lakes relied on adjusting firms, like Defendant Gentry, to provide adjusters to handle

        claims when needed. Defendant Gentry and/or Defendant Great Lakes then assigned an

        unknown adjuster to inspect the property. The unknown adjuster was improperly trained

        and/or supervised and failed to perform a thorough investigation of Plaintiffs' claim.

        Specifically, the unknown adjuster conducted a substandard inspection of Plaintiffs'

        property. The inadequacy of the unknown adjuster's inspection is evidenced by his failure

        to produce a report or account for any of Plaintiffs' daniages. This unknown adjuster's


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        inadequate investigation was relied upon by Great Lakes in this action and resulted in

        Plaintiffs' claim being improperly denied.

17.     Defendant Gentry failed to adequately train and supervise the unknown adjuster resulting

        in the unreasonable investigation and improper handling of Plaintiffs' claim. Moreover,

        Defendant Gentry, along with other Great Lakes personnel, failed to thoroughly review

        and properly oversee the work of this unknown adjuster ultimately approving an improper

        adjustment of and an inadequate, unfair settlement of Plaintiffs' claim. As a result of

        Defendants' wrongful acts and omissions set forth above and further described herein,

        Plaintiffs' claim was denied although their home suffered damages covered by the policy.

18.     Together, Defendants Great Lakes, Gentry, and the unknown adjuster, set about to deny

        and/or underpay on properly covered damages. Great Lakes, Gentry, and the unknown

        adjuster misrepresented to Plaintiffs that Plaintiffs' properly covered hail storm and/or

        windstorm damages were not covered by the policy. Defendants Great Lakes, Gentry, and

        the unknown adjuster failed to provide any coverage for the damages sustained by Plaintiffs

        and improperly denied Plaintiffs' claim. As a. result of these Defendants' unreasonable

        investigation, Plaintiffs' claim was improperly denied, and Plaintiffs have suffered

        damages. The mishandling of Plaintiffs' claim has also caused a delay in Plaintiffs' ability




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        to fully repair their Property, which has resulted in additional damages. To this date,

        Plaintiffs have yet to receive the payment they are entitled to under the Policy.

49.     As detailed in the paragraphs below, Great Lakes wrongfully denied Plaintiffs' claim for

        repairs of the Property, even though the Policy provided coverage for losses such as those

        suffered by Plaintiffs. .

20.     To date, Great Lakes continues to delay in the payment for the damages to the property.

        As such, Plaintiffs have not been paid for the damages to their home.

21.     Defendant Great Lakes failed to perform its contractual duties to adequately compensate

        Plaintiffs under the terms of the Policy. Specifically, it refused to pay proceeds of the

        Policy, although due demand was made for proceeds to be paid in an amount sufficient to

        cover the damaged property. Great Lakes' conduct constitutes a breach of the insurance

        contract between Great Lakes and Plaintiffs.

22.     Defendants Great Lakes, Gentry, and the unknown adjuster misrepresented to Plaintiffs

        that damage to the Property was not covered under the Policy, even though the damage

        was caused by a covered occurrence. Defendants Great Lakes', Gentry's, and the unknown

        adjuster's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

        Practices. TEx. INs. CoDE §541.060(a)(1).

23.     Defendants Great Lakes, Gentry, and the unknown adjuster failed to make an attempt to

        settle Plaintiffs' claim in a fair manner, although they were aware of their liability to

        Plaintiffs under the Policy. Defendants Great Lakes', Gentry's, and the unknown




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        adjuster's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

        Practices. TEx. INs. CoDE §541.060(a)(2)(A).

24.     Defendants Great Lakes and Gentry failed to explain to Plaintiffs the reasons for their

        wrongful denial. Specifically, Defendants Great Lakes and Gentryfailed to offer Plaintiffs

        compensation, without any explanation why payment was not being made. Furthermore,

        Defendants Great Lakes and Gentry did not communicate that any future settlements or

        payments would. be forthcoming to pay for the losses covered under the Policy, nor did

        they provide any explanation for the failure to adequately settle Plaintiffs' claim. The

        Conduct of Defendants Great Lakes and Gentry is a violation of the Texas Insurance Code,

        Unfair Settlement Practices. TEx. Itvs. CoDE §541.060(a)(3).

25.     Defendants Great Lakes and Gentryfailed to affirm or deny coverage of Plaintiffs' claim

        within a reasonable time. Specifically, Plaintiffs did not receive timely indication of

        acceptance or rejection, regarding the claim, in writing from Defendants Great Lakes and

        Gentry.. The conduct of Defendants Great Lakes and Gentry constitutes a violation of the

        Texas Insurance Code, Unfair Settlement Practices. TEx. Itvs. CoDE §541.060(a)(4).

26.     Defendants Great Lakes arid Gentry refused to fully compensate Plaintiffs, under the terms

 ,      of the Policy, even though Defendants Great Lakes and Gentry failed to condiuct a

        reasonable investigation. Specifically, Defendants Great Lakes and Gentry performed an

        outcome-oriented investigation of Plaintiffs' claim, which resulted in a biased, unfair, and

        inequitable evaluation of Plaintiffs' losses on the Property. The conduct of Defendants




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        Great Lakes and Gentry constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a)(7).

27.     Defendant Great Lakes failed to meet its obligations under the Texas Insurance Code

        regarding timely acknowledging Plaintiffs' claim, beginning an investigation of Plaintiffs'

        claim, and requesting all information reasonably necessary to investigate Plaintiffs' claim,

        within the statutorily mandated time of receiving notice of Plaintiffs' claim. Great Lakes'

        conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

        TEX. INS. CODE §542.055.

28.     Defendant Great Lakes failed to accept or deny Plaintiffs' full and entire claim within the

        statutorily mandated time of receiving all necessary information. Great Lakes' conduct

        constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEx. INs.

        CODE §542.056.

29.     Defendant Great Lakes failed to meet its obligations under the Texas Insurance Code

        regarding payment of claim without delay. Specifically, it has delayed full payment of

        Plaintiffs' claim longer than allowed and, to date, Plaintiffs has not received full payment

        for his claim. Great Lakes' conduct constitutes a violation of the Texas Insurance Code,

        Prompt Payment of Claims. TEx. INs. CoDE §542.058.

30.     From and after the time Plaintiffs' claim was presented to Defendant Great Lakes, the

        liability of Great Lakes to pay the full claim in accordance with the terms of the Policy was

        reasonably clear. However, Great Lakes has refused to pay Plaintiffs in full, despite there

        being no basis whatsoever on which a reasonable insurance company would have relied to




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        deny the full payment. Great Lakes' conduct constitutes a breach of the common law duty

        of good faith and fair dealing.

31.     Defendants Great Lakes and Gentry knowingly or recklessly made false representations,

        as described above, as to material facts andlor knowingly concealed all or part of material

        information from Plaintiffs.

32.     As a result of Defendants Great Lakes' and Gentry's wrongful acts and omissions,

        Plaintiffs were forced to retain the professional services of the attorney and law firm who

        are representing him with respect to these causes of action.

                       CAUSES OF ACTION AGAINST DEFENDANT GENTRY

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                             UNFAIR SETTLEMENT PRACTICES

33.     Defendant Gentry's conduct constitutes multiple violations of the Texas Insurance Code;

        Unfair Settlement Practices. TEx. INs. CoDE §541.060(a). All violations under this article

        are made actionable by TEx. INs. CoDE §541.151.

34.     Defendant Gentry's unfair settlement practice, as described above, of misrepresenting to

        Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of

        competition and an unfair and deceptive act or practice in the business of insurance. TEx.

        INs. CoDE §541.060(a)(1).

35.     Defendant Gentry's unfair settlerrient practice, as described above, of failing to attempt in

        good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

        liability under the Policy was reasonably clear, constitutes an unfair method of competition




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        and an unfair and deceptive act or practice in the business of insurance. TEx. INs. CoDE

        §541.060(a)(2)(A).

36.     Defendant Gentry's unfair settlement practice, as described above, of failing to promptly

        provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to the

        facts or applicable law; for its offer of a compromise settlement of the claim, constitutes an

        unfair method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEx. INs CoDE §541.060(a)(3).

37.     Defendant Gentry's unfair settlement practice, as described above, of failing within a

        reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

        reservation of rights to Plaintiffs, constitutes an unfair method of competition and an unfair

        and deceptive act or practice in the business of insurance. TEx. INs. CoDE §541.060(a)(4).

38.     Defendant Gentry's unfair settlement practice, as described above, of refusing to pay

        Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEx. INs. CoDE §541.060(A)(7).

                           CAUSES OF ACTION AGAINST GREAT LAKES

39.     Defendant Great Lakes is liable to Plaintiffs for intentional breach of contract, as well as

        intentional violations of the Texas Insurance Code, and intentional breach of the common

        law duty of good faith and fair dealing.

                                      BREACH OF CONTRACT

40.     Defendant Great Lakes' conduct constitutes a breach of the insurance contract made

        between Great Lakes and Plaintiffs.




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 41.      Defendant Great Lakes' failure and/or refusal; as described above, to pay the adequate

          compensation as it is obligated to do under the terms of the Policy in question, and under

          the laws of the State of Texas, constitutes a breach of Great Lakes' insurance contract with

          Plaintiffs.

                          NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                                ZTNFAIR SETTLEMENT PRACTICES

_ 42.     Defendant Great Lakes' conduct constitutes multiple violations of the Texas Insurance

          Code, Unfair Settlement Practices. TEx. INs. CoDE §541.060(a). All violations under this

          article are made actionable by TEx. INs. CoDE §541.151.

 43.      Defendant Great Lakes' unfair settlement practice, as described above, of misrepresenting

          to.Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of

          competition and an unfair and deceptive act or practice in the business of insurance. TEx.

          INS. CoDE §541.060(a)(1).

 44.      Defendant Great Lakes unfair settlement practice, as described above, of failing to attempt

          in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

          Great Lakes' liability under the Policy was reasonably clear, constitutes an unfair method

          of competition and an unfair and deceptive act or practice in the business of insurance.

          TEx. Irrs. CoDE §541.060(a)(2)(A).

 45.      Defendant Great Lakes' unfair settlement practice, as described above, of failing to

          promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in

          relation to the facts or applicable law, for its offer of a compromise settlement of the claim,

          constitutes an unfair method of competition and an unfair and deceptive act or practice in

          the business of insurance. TEx. INs. CoDE §541.060(a)(3).



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46.     Defendant Great Lakes' unfair settlement practice, as described above, of failing within a

        reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

        reservation of rights to Plaintiffs, constitutes an unfair method of competition and an unfair

        and deceptive act or practice in the business of insurance. TEx. INs. CoDE §541.060(a)(4).

47.     Defendant Great Lakes' unfair settlement practice, as described above, of refusing to pay

        Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEx. INs. CoDE §541.060(a)(7).

                        NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                             T'HE PROMPT PAYMENT OF CLAIMS

48.     Defendant Great Lakes' conduct constitutes multiple violations of the Texas Insurance

        Code, Prompt Payment of Claims. All violations made under this article are made

        actionable by TEx. INs. CoDE §542.060.

49.     Defendant Great Lakes' failure to acknowledge receipt of Plaintiffs' claim, commence

        investigation of the claim, and request from Plaintiffs all items; statements, and forms that

        it reasonably believed would be required within the applicable time constraints, as

        described above, constitutes a non-prompt payment of claims and a violation of TEx. INs.

        CoDE §542.055.

50.     Defendant Great Lakes' failure to notify Plaintiffs in writing of its acceptance or rejection

        of the claim within the applicable time constraints, constitutes a non-prompt payment of

        the claim. TEx. INs. CoDE §542.056.

51.     Defendant Great Lakes' delay of the payment of Plaintiffs' claim following its receipt of

        all items, statements, and forms reasonably requested and-required, longer than the amount



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        of time provided for, as described above, constitutes a non-prompt payment of the claim.

        TEX. INS. CODE   §542.058.

                             ACTS CONSTITUTING ACTING AS AGENT

52.     As referenced and described above, and further conduct throughout this litigation and

        lawsuit, Gentry and the unknown adjuster are agents of Great Lakes based on their acts

        during the handling of this claim, including inspections, adjustments, and aiding in

        adjusting a loss for or on behalf of the insurer. TEx. INS. CODE §4001.051.

53.     Separately, and/or in the alternative, as referenced and described above, Great Lakes

        ratified the actions and conduct of Gentry and the unnknown adjuster including the

        completion of their duties under the common law and statutory law.

                   BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

54.     Defendant Great Lakes' conduct constitutes a breach of the common law duty of good faith

        and fair dealing owed to insureds in insurance contracts.

55.     "Good faith and fair dealing" is defined as the degree and diligence which a man of

        ordinary care and prudence would exercise in the management of one's own business.

        Arnold v. Nat'Z Mut. Fir Ins. Co., 725 S.W.2d 165, 167 (Tex. 1987).' This tort arises from

        Texas law, which recognizes that a special relationship exists as a result of Plaintiffs' (the

        policyholders) and Great Lakes' (the insurer) unequal bargaining power. Part of this

        unequal bargaining power results from the fact that Great Lakes, like other insurers,

        controls entirely the evaluation, processing and denial of claims.

56.     At the time of the unknown adjuster's inspection and/or investigation, upon which Great

        Lakes relied entirely for its investigation, evaluation, and settling of Plaintiffs' claim, the

        unknown adjuster repeatedly tried to wrongfully minimize Plaintiffs' losses. For example,


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        the unknown adjuster failed to include any of Plaintiffs' covered damages, failed to

        produce a report, and failed to give Plaintiffs' an adequate explanation as to why the claim

        was denied. Great Lakes ultimately approved the denial which was made without a report

        being produced. These are examples of Great Lakes' bad faith. By not accounting for all

        the covered damages, Gentry, the unknown adjuster, and Great Lakes did not inspect and

        evaluate Plaintiffs' home as if it were their own home. Great Lakes' investigation and

        evaluation was not reasonable, thus, Great Lakes lacked a reasonable basis for denying

        Plaintiffs' covered damages. Great Lakes' overall conduct in handling Plaintiffs' claim

        was not reasonable.

57.     Defendant Great Lakes' failure, as described above, to adequately and reasonably

        investigate and evaluate Plaintiffs' claim, although, at that time, Great Lakes knew or.

        should have known by the exercise of reasonable diligence that its liability was reasonably

        clear, constitutes a breach of the duty of good faith and fair dealing.

                                          KNOWLEDGE

58.     Each of the acts described above, together and singularly, was done "knowingly," as that

        term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs' damages

        described herein.

                                            DAMAGES

59.     Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained by Plaintiffs.

60.     As previously mentioned, the damages caused by the April 20, 2012, hail storm and/or

        windstorm have not been properly addressed or repaired in the months since the storm,

        causing further damages to the Property, and causing undue hardship and burden to


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        Plaintiffs. These damages are a direct result of Defendants Great Lakes', Gentry's and

        Unknown adjuster's mishandling of Plaintiffs' claim in violation of the laws set forth

        above.

61.     For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which is

        the amount of his claim, together with attorney's fees.

62.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiffs

        are entitled to actual damages, which include the loss of the benefits that should have been

        paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

        conduct of the acts described above, Plaintiffs ask for three times their actual damages.

        TEx. INs. CoDE §541.152.

63.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

        entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on

        the amount of such claim as damages, together with attorney's fees. TEx. INS. CODE

        §542.060.

64.     For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to

        compensatory damages, including all forms of loss resulting from the insurer's breach of

        duty, such as additional costs, economic hardship, losses due to nonpayment of the amount
              ~
        the insurer owed, exemplary damages, and damages for emotional distress.

65.     For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

        the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiffs

        are entitled to recover a sum for the reasonable and necessary services of Plaintiffs'

        attorney in the preparation and trial of this action, including any appeals to the Court of

        Appeals and/or the Supreme Court of Texas.


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                                                                                      Hidalgo County District Clerks
                                                                                      Reviewed By: Alexis Bonilla
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                                     WRITTEN DISCOVERY

66.    - This matter will be governed by the Standing Pretrial Order Concerning Hidalgo Courity

        Residential Hail Claims. Pursuant to the Court's Order, a copy is attached to Plaintiffs'

        Original Petition as "Exhibit 1."

67.     The Order Assigning Cases for Pretrial Matters Concerning Hidalgo County Residential

        and Commercial Hail Claims is attached to Plaintiffs' Original Petition as "Exhibit 2."

                                    REQUESTS FOR DISCLOSURE

68.     Under Texas Rules of Civil Procedure 194, Plaintiffs hereby requests Defendant Great

        Lakes and Defendant Gentry each disclose, within fifty (50) days of service of this request,

        the information or material described in Texas Rule of Civil Procedure 194.2 (a) through



                                              I   u:7\•/ 3:7
        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in

accordance with the rules oflaw and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney's fees for the trial and any appeal of this case, for all costs

of Court on their behalf expended, for prejudgment and postjudgment interest as allowed by law,

and for any other and further relief, either at law or in equity, to which they may show themselves

justly entitled.



                                                  Respectfully submitted,


                                                  ARGUELLO, HOPE & ASSOCIATES, P.L.L.C.

                                                                                                 Page 15


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                                                                Hidalgo County District Clerks
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                                By: lsl Brandon Morris
                                      Brandon D. Morris
                                      State Bar of Texas Number: 24092860
                                      1110 Nasa Parkway, Suite 620
                                      Houston, Texas 77058
                                      Telephone: (281) 532-5529
                                      Facsimile: (281)402-3534
                                      ATTORNEY FOR PLAINTIFFS
                                      JOSE and LORENZA GARCIA




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       EX IBIT NO 1e




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1N RE:                                           §         1N THE DISTRICT COURT OF
                                                 §
HIDALGO HAIL                                     §
                                                 §         HIDALGO COUrTTY, TEXAS
RESIDENTIAL PROPERTY                             §
                                                 §
CLAIM LITIGATION                                 §             TH JUDICIAL DISTRICT COURT


                      STANDING PRETI2IAL ORDE)4t COIVCERNING
                    HIDALGO COUNTY 12ESEDEIVTYAL HAIL C.`LA][NdS

        It is hereby ORDERED that the 93`s, 206`h and 370`h District Courts of Hidalgo County,
Texas, have been appointed as the Consolidated Pretrial Coults over Hidalgo Hail Litigation
filed in District Court in Hidalgo County, Texas. The 93 d, 206`' and 37W' Disth7ct Courts of
Hidalgo County, Texas, have been assigned to handle all pretrial matters for residential property
insurance cascs filed in the District Courts of Hidalgo County, Texas that involve insurance
disputes arising ottt of hail storms that strucic Hidalgo County on or about March 29, 2012 and
Apri120, 2012:

IT IS ACCORDINGLY ORDERED AS P'OLLOWS:

A.       This Order shall be affective and apply to all lawsuits filed in the District Cou.rt of
         Hidalgo County, Texas wherein any polieyholder (the "Plaintiff Insured") asserts a claim
         arisuig from damage to residential property catised by the 2012 Hail Storms that strucic
         Hidalgo County on or about. March 29, 2012 and April 20, 2012, against an insurance
         carrier who issues insurance policies for residential property (the "Residential Insurance
         Carrier"); and

B.       Immediateiy upon the f Iing of this Order, tlte District Clerk shall post this Order on the
         Hidalgo County District Courts' website. Any Plaintiff who is aware of this Order shall
         attach a copy of this Order to its Original Petition, or to otherwise send a copy of this
         Order to any party, if pro se, or to such party's counsel of record.

C.      Within one liundred (100) days after the Residential Insurance Carrier makes an
        appearance in the lawsuit or the date of this Order, whichever is later, all parties are
      a Ordered to agree on a mediator and mediatioii date. However, the mediation can be set to

        occur outside of this time period. Once the parties have agreed on a mediator and
        mediation date, they shall notify the Cowt by filing the attached Mediation Order
        (Bxhibit "A"). If the parties make an agreetnent around the timing in this provision, the
        parties must obtain approval of their agreement from the Court.

D.       Immediately upon the filing of the Residential Insurance Carrier's Original Answer, the
         case will be abated until (1) 30 days after unsuccessfu.l mediation or (2) notice by any
         party that the party desires to unilaterally end the abatement period applicable to a
         particular case 30 days from the date the notice is received by the opposing pa.rty. The
         abatecnent period will apply to all Court ordered deadlizies or Rule 190 Discovery




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     deadlines. The abatement period will not apply to any statutory deadline, interest or
     penalties that may apply under any statutory code or law. The parties may send written
     discovery during the abatement tirne period, ' however, the responses and obj ections to
     those discovery requests will not be due untii 30 days after the earlier of an unsuccessful
     mediation or a party's termination of the abatement period.

E:   Purthermore, within 60 days of the filing of the Insurance Carrier's Original Answer or
     the date of this Order, whichever is later, the parties will use their best efforts to excha.nge.
     information and documentation pertaining to the residence, to the extent same exists,
     including the following: Expert Reports, Enginecring Reports, Estimates of Damage or
     repairs; Contents Lists for contents damage claim; Photographs; Repair Receipts or
     Invoices; the non-piivileged portions of the Residential Insurance Carrier and Adjusting
     Company's claims file (including all claim diary notes, activity logs, loss notes and email
     correspondence regarding the insurance claim); payment ledger, payment log and/or
     proof of paynaent from the 7nsurance Carrier; a copy of the insurance policy in efPect at
     the time of the respective Hail claun(s); and the non-privileged poYtions of the
     iurderwriting file. Tf the Insuranae Cm-iier is not in possession of t.he Adjusting
     Company's/Adjuster's clainis file, and the Adjusting Company/Adjuster is not a named as
     a party in the lawsuit represented by separate counsel, then the Insurance Carrier shall
     seelc the Adjusting Company's claiyns file and use their best efforts to exchange this
     information within the 60 day time period. The Insurance Carrier is aiso Ordered to
     notify the independent adjusting company that all emails, activity,notes and loss diary
     notes pertaining to the Hail claim in litigation shall be preserved and not destroyed
     pursuant to the Court's "Save & Hold" directive regardi.ng those emails and claims
     correspondence. Lastly, a privilege log will also be produced in accordance with the
     Texas Rtdes of Civil Procedure for any redactions or privileges being asserted on any
     documents in tlie elaims file or claini correspondence,

F.   Any Expert Reports, Engineering Reports, Contractor Estimates or any other estimates of
     dainages or repairs obtained by directive of Counsel for settlement, demand, or mediation
     purposes and exclianged prior to mediation shall be for "Mediation Purposes Only" and
     shall be considered confidential, except t.hat any estimates and/or reports that are part of
     the clai,ms file, which were obtained or prepared dnring the clainis handling, sha11 not be
     cozlsidered confidential under this paragraph. Otherwise, such reports and estimates
     exchanged for mediation purposes shall only be used at trial if Plaintiff or Defendant
     designates the consultant as a retained testifying expert and does not properly de-
     designate prior to trial. If a consultant, whose report is produced at mediation, produces a
     subsequent report for use at trial, the mediation report shall reinain conf-idential unless
     agreed to otherwise. The reports and estimates are oniy confidential for the lawsuit in
     which they are being used. Expert reports designated for mediation purposes shalI be
     returned to the providing party within 14 days of a written request by the providing party
     for their return after mediation. Such reports shall n:ot-be discoverable or admissible at
     trial or any hearing. If the party procuring the report designates the expert to testify, such
     party shall have the right to prevent discovery or testimony by the expert regarding the
     mediation report and any opinions therein. The procuring parrymay use data such as
     measuremnts and photographs witliout waiving this privilege. Nothing herein shall




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      prohibit the use of those reports and estimates in any subsequent iasurance ciaims or
      lawsiuts involvi-ng the same Residentiai Insurance Carrier, -        .

G.    Once a rnediation date and mediator are agreed to by all parties, the Residential Tnsurance
      Carrier shall be peimitted to inspect the residence involved in the lawsuit (as soon as
      practicable) prior to mediation. If inediation is unsuccessful, the Residential Insurance
      Canier and other Defendants may reinspect the residence with the same, riew or
      additional experts pursuant to the Texas Rules of Civil Procedure.

H.    The Mediator shall notify the Court within ds haurs once an impasse has been declared
      by the Mediator. This notice shall be in writing a.nd sent to all parEies and the Coiut.

I.    Upon the expiration of the abatement period applicable to the case (30 days) the parties
      will enter into an Agreed Scheduling Order, which will include a date for trial.

J,    The Court shall set a Status Conference to occur on each case under this Order 150 days
      from the date the Origi.nal Petition was piled and provide wi-itten notice to all parties of
      the date and time of the Statas Conference.

                                              ,
Signed this ~~
             day of ~ ~1       ~'                                 , 2013.




                                                            (signatures continued ori next page)




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398t District Court, JudgeYk .   alinas Flores


    District Cotut, Judgi Ricardo Rodriguez, Jr.




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       EX IBIT NOo 2




                                                            EXHIBIT A
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1N RE:                                            §         IN THE DISTItICT COURT OF
                                                  §
HIDALGO HAI 'L                                    §
                                                  §         HIDALGO COUNTY, TEXAS
RESIDENTTL4I. PROPERTY                            §
                                                  § ...
CLAIM LITIGATION                                  §             TH .TUDICIAL DISTRICT COURT


       ORDER ASSiGNING CASES FOR PRETRIAL MA.T'I'EItS CONCERNING
       HIDALGO COYJNT'Sr I2ESIDENTIAL AND COM1VIIlItCL4-3, B3AII, CLAIlVIS

         The 93`d, 206" and 370`h District Courts of Hidalgo County, Texas, have been assigned to
handle all pretrial matters for residentiai and commercial property insurance cases filed in the
District Cotuts of Hidalgo County, Texas that involve insurance disputes arising out of hail
storms that struck Hidalgo County on or about March 29, 2012 and April 20, 2012. The most
efficient and consistent manner for allocating the various matters among the three pretrial courts
is to divide and assign the cases based on the named insurance carrier . defendant. Accordingly,
each of the pretrial courts is hereby assigned to handle pretrial matters in the subject Hidalgo
County residential and cominercial hail ciaims, as follows:

The 93rd 3udicial District Court shall handle all pretrial matters in cases against the following
xnsurance camers:
       1. State Farm entities
       2. Homeowners of America
       3. National Lloyds
       4. Fred Loya Insurance
       5. Standard Guaranty
       6. Geovera
       7. Southern Vanguard
       8. Balboa
       9. Republic Group
       10.USAA
       'ALL OTI3[ER INSUBANCE CARRIERS NOT ASSIGNED IJNDER TAIS
       ORDER ARE ASSIGNED TO T11IE 93uD JUDICYAL DISTIt,TCT COUIZT FOR
       PRETRIA)<. MATTERS.***

The 206"' Judicial District Court shall hancile all pretrial matters in cases against the following
insurarice carriers:
        1. Farmers Insurance entities
        2. Foremost Insuraixce entities
        3. Hocheim Prairie
        4, Certain Underwriters
        5. Meritplan
        6. Undeiwiiters at Lloyds
        7. Scottsdale Insurance Co.
        8. American Hallmark




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        9. Lloyds of London
        10.Texas FA1R Plan Association
        11.Standard Guaranty
        12.Priority Qne
        13. Progressive Insurance Co.
        14, Lexington
        15. Nationwide

The 370`h 7udicial District Court shall handle all pretrial matters in cases against the follovving
iusuranee carriers:
       1. Allstate entities
       2. Wellington
       3. Ameiica First
       4. Cypress Texas Lloyds
       5. Ameiican Risk
       6, Germania
       7. Pronto Insurance Co.
       8. ASI Lloyds
       9, Hartford
       10.Companion
       11.Frontier
       12, Safeco
       13. Travelers
       14, Liberty Muttial
       15.Universal
       16. Ranchers & Farmers

        Tt is fiirther ORDERED that the parties are urged to attezupt to agree on discovery
matters, irzcluding written discovery disputes and the number and scope of depositions.
However, if the parties are unable to reach a consensus regarding global or instituiionai
discovery disputes, the presiding adrninistrative judge for Hidaigo County District Courts will
worlC in conjunetion with the pre-trial judges to establish uniform parameters for discovery in all
cases controlled by this pretrial order.


Signed thi" day of               ~~ r°"         ~                     , 2013.




                                      Flores


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     District CoVKg=e Marlo&. Raniirez, Jr.


     District Cdurt!3We Noe Gonzalez


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430L° DiNtrict Court, Judgj Isragi Ramon, Jr.
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39~e District Court, J44gq/tl/da Salinas Flores


    District Court, Y'izdge Ricardo Rodriguez, Jr.




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                                                             CIVIL CASE INFORMATION SHEET
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                                                                                                                9/18/2015 30 AM
                        CAUSE NUMBER (FOR CLEItK USE'O/VLY):   C-4758-15-F                                      Hidalgo County District Clerks
                                                                                   COUR'T (FOR CLF,RK USE ONI,Y)'
                                                                                                                                                                                                                                                                                                Rev                                                             . la
                 STYLED Lorenza Garcia and Jose Garcia v. Great Lakes Reinsurance (UIC) PLC and Gentry and Associates Claims Services, Inc.
                                   (e.g., Jobn Smith v. All American Insurance Co; In re Mary Ann Jones; Tn tlte Matter of tUe Fstate of George Jackson)
   A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a tiew civil, family law, probate, or mental
   health case or when a post judgment petition for modification or motion for enforcement is filed in a faniiiy law case. The information should be the best available at
   the time of filine.
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 1:.Contact iitformati.o.n.for. crson.com letin casc rnformatiori shcc[: .::::::::: .:.Nxi»es.of arties in case: :::: :;:.:z:.;:.•:. :::.:::.•:.::< ,: .- Person:or:;intity:com letin
                                                                                                                                                      ❑Attomey
                                                                                                                                                       x          for Plaintiff/Petitioner
 Name:                                    Email: .                                    Plaintiff(s)/Petitioner(s):                                     ❑Pro Se Plaintiff/Petitioner
                                                                                                                                                      ❑ Title N-D Agency
  Brandon Morris                           brandon@simpiyjustice.com                   Lorenza Gazcia                                                 ❑ Other:

 Address:                                                                                      Telephone:                                                                         Jose Garcia
                                                                                                                                                                                                                                                                              Additional Parties in Child Support Case:
   I110 Nasa Parkway, Suite 620                                                                 281-532-5229
                                                                                                                                                                                Defendant(s)/Respondent(s):                                                                   Custodial Parent:
 City/State/Zip:                                                                               Fax:
                                                                                                                                                                                 GreatLakes Reinsurance (UK) PLC
   Houston, Texas 77058                                                                         281-402-3534                                                                                                                                                                  Non-Custodial Parent:
                                                                                                                                                                                 and Gentry and Associates Claims
 Signature:                                                                                    State Bar No:
  ~~                                                                                                                                                                              Services, Ine.                                                                              Presunted Father:
                                                                                                24092860
                                                                                                                                                                                [Attacfi additioaal page as nceessary to list all parties]
....:..........:::..:..:.:.::>•:-:..::::-::.;.::~,:...::....,.-:....:....,,..... ,,..,.::.:..~:,:.:.,c:::;.:;:.r .~:.:.;:..:..~.....:~..._.. . . .:...       .   . ... .: ....                                                                    -           -—                                -
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  Debf/Cototract                                                                    ❑ AssaultBattery                                                 ❑ Eminent DomainL                                                         ElAnnuthrient                                                         ❑ Enforcement
    F]Consumer/DTPA                                                                 ❑ Constmetion                                                           Condemnation                                                      ❑ Declare Marriage Void                                                ❑ Modification—Custody
    ❑ Debt/Contract                                                                 ❑ Defamation                                                     ❑ Partition                                                              Divorce                                                                ❑ Modification-0ther
    ❑ Fraud/Misrepresentation                                                      Malpractice                                                       ❑ QuietTitie                                                                   ❑ WithChildren
    ❑ Other Debt/Contract:                                                               ❑ Accounting                                                ❑ Trespass to Try Title                                                        ❑ No Children                                                  ❑ Enforcement/Modification
                                                                                         ❑ Legal                                                     ❑ Other Property:                                                                                                                             ❑ Patemity
 Foreclosure                                                                             ❑ Medica]                                                                                                                                                                                                 ❑ Reciprocals (UIFSA)
   ❑ Home Equity—Expedited                                                               ❑ Other Professional                                                                                                                                                                                             Support Or e r
   ❑ Other Foreclosure                                                                         Liability:                                     ..,.,...... : .. .. .. .. .. ..... : ... .. ...... . .... ..: .....:..:.....:..... : :. ..,. ,. _,..,:.,.,. , .:.::;;.: : •..:;. :.::, ;
  ❑ Franchtse
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  ❑ Insurance                                                                      ❑ MotorVeliieleAccident                                                                                                                .........:..OtherFamtl                                                       Paient=Chihl:Relationship`,::::
  ❑ Landlord/Tenant                                                                 ❑ Premises                                                       ❑ Expunction                                                              ❑ Enforce Foreign                                                            Adoption/Adoption with
  ❑ Non-Competition                                                                Product Liability                                                 ❑ Judgment Nisi                                                                  Judgnient                                                           Termination
  ❑ Partnership                                                                         ❑ Asbestos/Silica                                            ❑ Non-Disclos[rre                                                         ❑ ilabeas Corpus                                                      ❑ Child Protection
  ❑ Otlier Contract:                                                                    ❑ Other.Product Liability                                    ❑ Seizure/Forfeiture                                                       ❑ Name Change                                                        ❑ Child Support
                                                                                               List Product:                                         ❑ Writ of Habeas Corpus—                                                   ❑ Protective Order                                                   ❑ Custody or Visitation
                                                                                                                                                            Pre-indictnient                                                     ❑ Removal of Disabilities                                            ❑ Gestational Parenting
                                                                                   ❑ Other Injury or Damage:                                         ❑ Other:                                                                         of Minority                                                    ❑ Grandparent Access
                                                                                                                                                                                                                                ❑ Other:                                                             ❑ Parentage/Patemity
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                                                                                                                                                                                                                                                                                                     ❑ Other Parent Child:
  QDiscrimination                                                                     ❑ Administrative Appeal                                        ❑Lawyer Discipline
  ❑ Retaliation                                                                       ❑ Antitrust/Unfair                                             ❑Perpeluate Testimony
  ❑ Termination                                                                             Competition                                              ❑Securities/Stock
  ❑ Workers' Compensation                                                             ❑ Code Violations                                              ❑Tortious Interference
  ❑ OtherEmploytnent:                                                                 ❑ ForeignJudgment                                              ❑Othec
                                                                                      ❑ Intellectual Property
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    ❑ Tax Appraisal                                                                   ProbatelWills/lntestate Adntinistration                                                                                Guardianship—Adult
    ❑ Tax Delinquency                                                                   ❑ Dependcnt Administration                                                                                         ❑Guardianship—Minor
    ❑ Other Tax                                                                         ❑ lndependent Administration                                                                                       ❑Mental Health
                                                                                        ❑ Other Estate Proceedings                                                                                         ❑Other:

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    ❑ Appeal from Ivlunicipal or Justice Court                                                                   ❑ Declaratory Judgment                                                                    ❑ Prejudgment Remedy
    ❑ Arbitration-related                                                                                        ❑ Garnishment                                                                             ❑ Protective Ot'der
    ❑ Attachtnent                                                                                                ❑ Interpleader                                                                            ❑ Receiver
    ❑ Bill of Revicw                                                                                             ❑ License                                                                                 ❑ Sequestration
    ❑ Certiorari                                                                                                 ❑ Mandatnus                                                                               ❑ Temporary Restraining Order/Injtmction
    ❑ Class Action                                                                                               ❑ Post judgment                                                                           ❑ Ttrrnover
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    ❑ Less thalt $100,000, including damages of any kind, penalties, costs, expenses, pre judgment interest, and attomey fees
    ❑ Less than $100,000 and non-monetary relief
    ❑ Over $100, 000 but not more tkan $200,000
    gOver $200,000 but not more than $1,000,000
    ❑ Over $1,000,000
                                                                                                                                                                                                                                                                                           EXHIBIT ARev                                                 2/13
